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11                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
12
     East Bay Sanctuary Covenant; Al Otro Lado;
13   Innovation Law Lab; and Central American                 Case No.: 18-cv-06810
     Resource Center in Los Angeles,
14
                    Plaintiffs,
15                                                            PLAINTIFFS’ MEMORANDUM IN
                    v.                                        SUPPORT OF
16                                                            MOTION FOR TEMPORARY
     Donald J. Trump, President of the United States, in      RESTRAINING ORDER
17   his official capacity; Matthew G. Whitaker, Acting
     Attorney General, in his official capacity; U.S.
18   Department of Justice; James McHenry, Director           IMMIGRATION ACTION
     of the Executive Office for Immigration Review,
19   in his official capacity; the Executive Office for
     Immigration Review; Kirstjen M. Nielsen,
20   Secretary of Homeland Security, in her official
     capacity; U.S. Department of Homeland Security;
21   Lee Francis Cissna, Director of the U.S.
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22   official capacity; U.S. Citizenship and
     Immigration Services; Kevin K. McAleenan,
23   Commissioner of U.S. Customs and Border
     Protection, in his official capacity; U.S. Customs
24   and Border Protection; Ronald D. Vitiello, Acting
     Director of Immigration and Customs
25   Enforcement, in his official capacity; Immigration
     and Customs Enforcement,
26
                    Defendants.
27

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     **Application for admission forthcoming
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                                                INTRODUCTION
 1

 2          On November 9, 2018, the government published an emergency regulation, followed

 3   immediately by a Proclamation invoking Section 212(f) of the Immigration and Nationality Act

 4   (8 U.S.C. § 1182(f)), which together categorically bar asylum for individuals who enter the United
 5   States along the southern border between ports of entry, regardless of how much danger those
 6
     individuals face if returned to their home countries. The interim rule was issued without the “notice
 7
     and comment” procedures or the 30-day waiting period that are required by the Administrative
 8
     Procedure Act (“APA”) to ensure that agency action is transparent, fair, and accountable. Because
 9

10   “good cause” did not exist to disregard these bedrock procedural requirements, the regulation

11   violates the APA. For this reason alone, a Temporary Restraining Order (“TRO”) is necessary to

12   preserve the status quo.
13
            More fundamentally, a per se ban on asylum at the southern border based solely on the fact
14
     that an individual did not enter and assert his or her fear of persecution at a port of entry is patently
15
     unlawful under the Immigration and Nationality Act (“INA”). Consistent with its international
16
     obligations, Congress has specifically and unambiguously addressed this issue and made clear in the
17

18   INA that asylum is available regardless of “whether or not” an individual entered “at a designated

19   port of arrival.” 8 U.S.C. § 1158. Neither the Attorney General (through a regulation), nor the
20   President (through a § 212(f) Proclamation), has the power to override that explicit and longstanding
21
     congressional directive.
22
            Indeed, the Acting Attorney General and Secretary of Homeland Security no doubt recognize
23
     that they cannot issue a regulation that is in square conflict with the express terms of the statute
24

25   under which they are acting. That is presumably why the President issued a Proclamation in

26   conjunction with the regulation. But the President’s 212(f) proclamation power likewise cannot

27   override a congressionally mandated statutory directive. Notably, in defending the President’s §
28   212(f) travel ban, the government went out of its way to explain that the travel ban did not conflict
                                                       1
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     with a specific statutory command. The Supreme Court agreed with the government that the travel
1
2    ban did not conflict with a specific statutory provision and, significantly, stated: “We may assume

3    that § 1182(f) does not allow the President to expressly override particular provisions of the INA.”

4    Trump v. Hawaii, 138 S. Ct. 2392, 2411 (2018). Yet that is precisely what the President seeks to do
5    here.
6
              The stakes in this case are high. The availability of asylum is often all that stands between an
7
     individual and severe persecution or death. The Administration’s refrain that some individuals do
8
     not ultimately file for asylum, or will not ultimately prevail on their claims, misses the point.
9
10   Congress has made clear that there must be a process to determine who is a legitimate asylum seeker

11   and that eligibility to seek asylum cannot turn on “whether or not” one enters at a port of entry, 8

12   U.S.C. § 1158(a)(1) – a fact that has no bearing on the degree of danger one would face if sent back
13   to his or her home country.
14
              Moreover, the stakes in this case are enormous not only because it involves the fundamental
15
     humanitarian protections of asylum, but also because it implicates foundational separation of powers
16
     concerns. This is not a case where the President is filling a void left open by Congress or operating
17
18   within the interstices of broad congressional policy. It is just the opposite. Here, the President and

19   Attorney General are trying to override Congress and settled law. If the courts allow the President to
20   take this step here, he could not only override statutory asylum law, but disregard the entirety of our
21
     congressional immigration scheme – a scheme that reflects Congress’s considered judgment about
22
     how to balance the nation’s ideals and competing policy priorities.
23
              For the past four decades, asylum has been available regardless of where one entered the
24
25   country. A TRO is warranted to preserve that status quo. In the absence of immediate judicial

26   intervention, families in serious danger, including children, could be imminently removed and

27   effectively delivered back to their persecutors without ever having had the chance even to apply for
28   asylum. Plaintiffs also will be deprived of their critical procedural right to submit comments
                                                        2
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     regarding the illegality of the rule and the flawed factual premises underlying the government’s
1
2    proffered reasons for promulgating it.

3                                              BACKGROUND

4           A. Statutory Background

5
            Federal law provides for asylum, which is a form of protection available to individuals who
6
     fear persecution in their home countries. The asylum laws reflect Congress’s intent to bring the
7
     United States into compliance with its international obligations under the 1967 United Nations
8
     Protocol Relating to the Status of Refugees. Orantes-Hernandez v. Thornburgh, 919 F.2d 549, 551
9
     (9th Cir. 1990). Asylum law affords protection to individuals who have a “well-founded fear of
10
     persecution” on account of any one of five protected grounds: race, religion, nationality, political
11
     opinion, or membership in a particular social group. 8 U.S.C. § 1158(b)(1)(A); 8 U.S.C.
12
     § 1101(a)(42)(A). A ten percent chance of harm is sufficient to establish a well-founded fear.
13
     Orantes-Hernandez, 919 F.2d at 553 n.9.
14
            There are three principal ways for an individual to seek asylum. First, where a noncitizen is
15
     not in any kind of removal proceedings, his or her application is considered to be an “affirmative”
16
     filing. See 8 C.F.R. §§ 208.2(a), 208.9. Second, a noncitizen in ordinary removal proceedings, see 8
17
18   U.S.C. § 1229a, may submit a “defensive” application for asylum as a form of relief from removal, 8

19   C.F.R. § 208.2(b). Third, as part of the expedited removal system—an alternative summary removal

20   system currently applicable to certain individuals at or within 100 miles of the border—a noncitizen
21   who expresses a fear of return to his or her home country is entitled to a “credible fear” screening
22
     interview. 8 U.S.C. § 1225(b)(1)(B). If the screening officer finds a “significant possibility” that the
23
     individual “could establish eligibility for asylum,” he or she is placed in ordinary removal
24
     proceedings and given an opportunity to apply for asylum. Id.
25
26          Critically, and consistent with our international law obligations, Congress made clear that

27   manner of entry is irrelevant to asylum availability. Section 1158(a)(1) provides that “[a]ny alien

28   who is physically present in the United States or who arrives in the United States (whether or not at
                                                       3
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     a designated port of arrival and including an alien who is brought to the United States after having
1
2    been interdicted in international or United States waters), irrespective of such alien’s status, may

3    apply for asylum in accordance with this section or, where applicable, section 1225(b) of this title.”

4    8 U.S.C. § 1158(a)(1) (emphasis added).
5             B. The Interim Final Rule and § 212(f) Proclamation
6
              Through a combination of an Interim Final Rule and a § 212(f) Proclamation, the
7
     government has sought to squarely overturn Congress’s clear directive that asylum cannot be
8
     categorically denied based on unlawful entry.
9
10            On November 8, 2018, the Acting Attorney General and Secretary of Homeland Security

11   issued an Interim Final Rule. See “Aliens Subject to a Bar on Entry under Certain Presidential

12   Proclamations; Procedures for Protection Claims,” available at
13   https://www.regulations.gov/document?D=EOIR_FRDOC_0001-0039. Invoking the power to
14
     “establish additional limitations and conditions, consistent with [§ 1158], under which an alien shall
15
     be ineligible for asylum,” 8 U.S.C. § 1158(b)(2)(C), Defendants established a new bar to asylum.
16
     Under the rule, any individual whose entry is prohibited by a proclamation or order of the President
17
18   concerning the southern border, issued pursuant to INA § 212(f) or INA § 215(a)(1), 8 U.S.C.

19   § 1185(a), is now barred from asylum.1
20            The next day, the President signed a Proclamation, invoking INA § 212(f) and INA § 215(a).
21
     See “Presidential Proclamation Addressing Mass Migration Through the Southern Border of the
22
     United States,” available at https://www.whitehouse.gov/presidential-actions/presidential-
23
24   1
       The interim rule permits those who enter between ports to apply for a form of relief called “Withholding of Removal.”
     See 8 U.S.C. § 1231(b)(3). But to qualify for withholding of removal, the applicant must satisfy a standard of proof far
25   higher than for asylum. Rather than the well-founded fear governing asylum, an applicant for withholding must show
     that it is “more likely than not” that he or she will suffer persecution. It is therefore not a substitute for the asylum relief
26   authorized by statute. Orantes-Hernandez, 919 F.2d at 553 n.9 The interim rule also permits individuals barred from
     asylum to apply for relief under the Convention Against Torture (“CAT”). Convention Against Torture, see Foreign
27   Affairs Reform and Restructuring Act of 1998 (“FARRA”), Pub. L. No. 105-277, div. G, Title XXII, § 2242, 112 Stat.
     2681, 2681-822 (1998) (codified as Note to 8 U.S.C. § 1231); 8 C.F.R. § 208.18. But, unlike asylum, a CAT applicant
28   must show he or she will likely be tortured by (or with the acquiescence of) the home government.
                                             4
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     proclamation-addressing-mass-migration-southern-border-united-states/. The Proclamation
1
2    suspends the entry of noncitizens entering at the southern border between ports of entry. Together,

3    the Interim Final Rule and Proclamation categorically bar asylum for every individual who enters

4    without inspection at the southern border.
5                                             LEGAL STANDARD
6
             On a motion for a TRO, the plaintiff “must establish that he is likely to succeed on the merits,
7
     that he is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of
8
     equities tips in his favor, and that an injunction is in the public interest.” Saravia for A.H. v.
9
10   Sessions, 905 F.3d 1137, 1142 (9th Cir. 2018); see Stuhlbarg Int’l Sales Co. v. John D. Brush & Co.,

11   240 F.3d 832, 839 n.7 (9th Cir. 2001) (standard for a TRO or Preliminary Injunction is “substantially

12   identical”). A TRO may issue where “serious questions going to the merits [are] raised and the
13   balance of hardships tips sharply in [plaintiff’s] favor.” All. for the Wild Rockies v. Cottrell, 632
14
     F.3d 1127, 1131 (9th Cir. 2011).
15
                                                  ARGUMENT
16
                      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
17
18           Plaintiffs move for a TRO on two grounds, either one of which is sufficient to warrant

19   preserving the status quo. First, the government lacked any sufficient justification to disregard the
20   procedural requirements of the APA. See Section I. Second, the government’s categorical denial of
21
     asylum to those who enter between ports on the U.S.-Mexico border violates the INA, and thus is
22
     contrary to law and ultra vires under the APA’s substantive standards. See Section II.
23
        I.      The Interim Final Rule Violates The Procedural Requirements of The APA.
24
25      The new regulation violates the APA’s procedural requirements in two respects. First, the

26      Department of Justice issued the rule without providing notice and opportunity for comment, a

27      bedrock requirement that ensures the public’s involvement in the formulation of governmental
28      policy. 5 U.S.C. §§ 553(b), (c). Second, and alternatively, the rule takes immediate effect,
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        without the 30-day notice period required by law, in violation of 5 U.S.C. § 553(d). Contrary to
1
2       the government’s assertion, there is no good cause for the regulation to go into immediate effect,

3       nor does this case fall within the narrow foreign affairs exception.

4       A. The Attorney General Failed to Engage in Notice and Comment Rulemaking.
5           The APA requires federal agencies to publish in the Federal Register a general notice of
6
     proposed rulemaking prior to the promulgation of any regulation, to allow “interested persons an
7
     opportunity to participate in the rulemaking through submission of written data, views, or arguments
8
     with or without opportunity for oral presentation.” Id. § 553(c). Comments must be considered and
9
10   addressed in the notice of final rulemaking: “[a]fter consideration of the relevant matter presented,

11   the agency shall incorporate in the rules adopted a concise general statement of their basis and

12   purpose.” Id.
13          The notice requirements of § 553 “are designed (1) to ensure that agency regulations are
14
     tested via exposure to diverse public comment, (2) to ensure fairness to affected parties, and (3) to
15
     give affected parties an opportunity to develop evidence in the record to support their objections to
16
     the rule and thereby enhance the quality of judicial review.” Int’l Union, United Mine Workers of
17
18   Am. v. Mine Safety & Health Admin., 407 F.3d 1250, 1259 (D.C. Cir. 2005). “It is antithetical to the

19   structure and purpose of the APA for an agency to implement a rule first, and then seek comment
20   later.” United States v. Valverde, 628 F.3d 1159, 1164 (9th Cir. 2010) (quoting Paulsen v.
21
     Daniels, 413 F.3d 999, 1005 (9th Cir. 2005)).
22
            There is no dispute that the Acting Attorney General and Secretary of Homeland Security
23
     failed to comply with these requirements. Instead, in the Federal Register Notice, Defendants offer a
24
25   cursory assertion of “good cause” to bypass notice and comment pursuant to 5 U.S.C. § 553(b)(B).

26   There is no good cause to skip the normal notice and comment requirement. The government also

27   improperly seeks to fit this rule into what is only a narrow exception for foreign affairs.
28          Section 553(b)(B) of Title 5 provides an exception to the notice and comment requirements
                                                      6
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     “when the agency for good cause finds . . . that notice and public procedure thereon are
1
2    impracticable, unnecessary, or contrary to the public interest.” “[T]he agency’s decision not to

3    follow the APA’s notice and comment procedure” is reviewed de novo. Reno-Sparks Indian Colony

4    v. EPA, 336 F.3d 899, 910 n.11 (9th Cir. 2003).
5           A reviewing court is to “examine closely” the agency’s explanation as outlined in the rule.
6
     Council of S. Mountains, Inc. v. Donovan, 653 F.2d 573, 580 (D.C. Cir. 1981). Because notice and
7
     comment is the default procedure, “the onus is on the [agency] to establish that notice and comment”
8
     should not be given. Action on Smoking & Health v. Civil Aeronautics Bd., 713 F.2d 795, 801 n.6
9
10   (D.C. Cir. 1983). Successfully invoking the good cause exception requires the agency to “overcome

11   a high bar,” as “the good cause exception should be ‘narrowly construed and only reluctantly

12   countenanced.’” Valverde, 628 F.3d at 1164 (quoting Jifry v. FAA, 370 F.3d 1174, 1179 (D.C. Cir.
13   2004)). “[T]he good cause exception is essentially an emergency procedure,” id. at 1165 (quoting
14
     Buschmann v. Schweiker, 676 F.2d 352, 357 (9th Cir. 1982)), and so “should be limited to
15
     emergency situations,” Am. Fed. of Gov’t Emps. v. Block, 655 F.2d 1153, 1156 (D.C. Cir. 1981).
16
            Defendants have asserted that they have good cause because providing notice and comment
17
18   would be “impracticable” and “contrary to the public interest.” See Interim Final Rule at 65 (citing 5

19   U.S.C. § 553(b)(B)). Specifically, they assert that permitting notice and comment to proceed in the
20   normal course would create “an incentive for aliens to seek to cross the border” during those periods.
21
     Interim Final Rule at 65-67. That argument is unfounded and insufficient to establish good cause.
22
            The impracticability prong of the good cause exception is only satisfied “where delay would
23
     imminently threaten life or physical property.” Sorenson Commc’ns Inc. v. FCC, 755 F.3d 702, 706
24
25   (D.C. Cir. 2014); see also Jifry, 370 F.3d at 1179 (upholding good cause assertion where rule was

26   “necessary to prevent a possible imminent hazard to aircraft, persons, and property within the United

27   States” based on “the threat of further terrorist acts involving aircraft in the aftermath of September
28   11, 2001”); Council of the S. Mountains, Inc., 653 F.2d at 581 (good cause shown where rule was
                                                      7
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     one of “life-saving importance” involving miners in a mine explosion); Sorenson, 755 F.3d at 706-
1
2    07 (rejecting an agency’s assertion of a fiscal emergency because it would be short up to $159

3    million as sufficient to bypass notice and comment). That is certainly not the case here. There is

4    nothing in the Interim Rule that suggests that the publication of a proposed rule with notice and an
5    opportunity to comment would imminently threaten life or physical property.
6
            And the public interest prong “is met only in the rare circumstance when ordinary procedures
7
     – generally presumed to serve the public interest – would in fact harm that interest.” Mack Trucks,
8
     Inc. v. EPA, 682 F.3d 87, 95 (D.C. Cir. 2012). That is likewise not the case here.
9
10          Defendants fail to proffer any credible imminent threat or conceivable exigent circumstances.

11   Instead of demonstrating an actual threat of immediate harm to life, physical property, or the public

12   interest, Defendants have pointed only to “conclusory speculative” concerns, Valverde, 628 F.3d at
13   1164, which, on their own terms, suggest only a broad, long-term policy goal of deterring migration,
14
     rather than an emergency need. Defendants surmise that preserving the status quo asylum system –
15
     which has been in effect for decades – while allowing the ordinary publication process to unfold
16
     might create an incentive for individuals to enter without inspection while the rulemaking procedures
17
18   are ongoing. But it is highly doubtful that this technical legal change will influence any asylum

19   seeker’s decisions about when and how to seek protection in this country. Indeed, in reality, many
20   asylum seekers do not even know what or where ports of entry are – much less the niceties of the
21
     APA’s procedural requirements. See Declaration of Erika Pinheiro, Director of Litigation and
22
     Policy, Al Otro Lado (Nov. 9, 2018), at ¶ 26; Declaration of Stephen W. Manning, Executive
23
     Director, Innovation Law Lab (Nov. 9, 2018), at ¶ 14. And even if an asylum seeker were to become
24
25   aware of the notice and comment period, any possible incentive to arrive and enter more quickly

26   than he or she otherwise would have is outweighed by the preexisting incentives in the INA that

27   discourage entering between ports of entry, including criminal penalties associated with entering
28   without inspection and the administration’s “zero tolerance” policy mandating criminal prosecution
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     of illegal entrants. See 8 U.S.C. § 1325. Furthermore, even if an asylum seeker wanted to hasten his
1
2    or her entry into the United States because of a pending change to the asylum regime and was set on

3    entering between ports of entry, Defendants offer no reason to think an asylum seeker reasonably

4    could do so, particularly given the length of the journey – Central America and the U.S.-Mexico
5    border are thousands of miles apart – and the resource constraints facing many asylum seekers. The
6
     unsubstantiated specter of a migration “surge” during the pre-promulgation notice and comment
7
     period, or the period before the effective date, thus is highly suspect and insufficient to justify
8
     abandonment of the typical rulemaking procedures.
9
10           The Ninth Circuit rejected a similarly flimsy rationale in Valverde. There, the Attorney

11   General implemented a rule penalizing the violation of certain sex offender registration

12   requirements. The Court explained that in light of the existing legal structure, the Attorney
13   General’s invocation of public safety could not establish good cause: “[T]he existence of stringent . .
14
     . criminal sanctions on the books at the time the [interim] regulation was promulgated obviated the
15
     case for an emergency.” 628 F.3d at 1168 (second alteration in original, internal quotation marks
16
     omitted). As here, “[t]he Attorney General provided no reason why, in view of the existing statutory
17
18   regime . . . , it was necessary for the interim rule to be made effective immediately, without

19   providing any opportunity for notice and comment.” Id. (calling it “difficult to see what substantial
20   public safety interest was served”).
21
             Nor does the volume of asylum seekers establish good cause. According to U.S. Customs
22
     and Border Protection’s (“CBP”) own statistics, migration at the southern border is far lower today
23
     than in recent decades.2 The number of migrants apprehended by Border Patrol officials at the U.S.-
24
25   Mexico border each month in fiscal year 2018 is a fraction of the number apprehended each month

26   2
      U.S. Customs and Border Protection, Southwest Border Migration FY2018, https://www.cbp.gov/newsroom/stats/sw-
     border-migration (last accessed Nov. 9, 2018); U.S. Customs and Border Protection, Southwest Border Sectors,
27   https://www.cbp.gov/sites/default/files/assets/documents/2017-
     Dec/BP%20Southwest%20Border%20Sector%20Apps%20FY1960%20-%20FY2017.pdf (last accessed Nov. 9, 2018);
28   see also Isacson Decl. ¶ 3.
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     in fiscal year 2000. See Declaration of Adam Isacson, Director for Defense Oversight, Washington
1
2    Office on Latin America (Nov. 9, 2018), at ¶¶ 3-4. Even as migration numbers have dropped, CBP’s

3    resources have increased, and CBP now has twice the budget and number of officials it did in 2000.

4    See id. ¶¶ 6-7. In 2017, the average Border Patrol agent apprehended only eighteen migrants along
5    the southern border all year long, or one every twenty days. Id. ¶ 3.
6
             Within the context of this low migration volume, the United States saw an increase in Central
7
     American families and unaccompanied minors coming to the southern border in 2014 and 2016.3
8
     The current influx of Central Americans seeking refuge thus is not new. Individuals apprehended at
9
10   the southern border during those previous influxes were provided an opportunity to apply for

11   asylum,4 and Defendants point to no consequences that threatened public safety or the public

12   interest, nor have they identified any reason to expect that a different result will obtain today.
13   Because DHS and USCIS have been able to handle similar, if not larger, numbers in past years
14
     without a change in longstanding asylum law, there is no reason to believe that such a change now is
15
     so urgent that the agencies can justifiably bypass the requisite notice-and-comment procedures.5
16
             Defendants’ contention that these procedural requirements do not apply because “this rule
17
18   involves a ‘foreign affairs function of the United States,’” Interim Final Rule at 6 (quoting 5 U.S.C.

19   553(a)(1)), is similarly flawed. They can offer only vague and insubstantial connections to foreign
20
     3
       U.S. Customs and Border Protection, United States Border Patrol Southwest Family Unit Subject and Unaccompanied
21   Alien Children Apprehensions Fiscal Year 2016, Statement by Secretary Johnson on Southwest Border Security (Oct.
     18, 2016), https://www.cbp.gov/newsroom/stats/southwest-border-unaccompanied-children/fy-2016.
22   4
       Id. (“We are determined to treat migrants in a humane manner. At the same time, we must enforce our immigration
     laws, consistent with our enforcement priorities. This has included, and will continue to include, providing individuals
23   with an opportunity to assert claims for asylum and other forms of humanitarian relief.”).
     5
       The agencies’ invocation of the migrant caravan currently traveling to the United States also does not constitute good
24   cause. As a factual matter, DHS’ claims as to the number of migrants likely to reach the U.S. border are erroneous.
     According to military planning documents, only “about 20 percent of the roughly 7,000 migrants traveling through
25   Mexico are likely to complete the journey.” Nick Miroff & Missy Ryan, “Army assessment of migrant caravans
     undermines Trump’s rhetoric,” Washington Post (Nov. 2, 2018), https://wapo.st/2JC2m4p (discussing U.S Army North,
26   JFLCC Threat Working Group PowerPoint Presentation 10, https://bit.ly/2AKgXId (“Historical Analysis – Assessed
     Trend: ~20% of individuals will make entire journey”)). Furthermore, the caravan likely will not reach the United States
27   for several more weeks. See Isacson Decl. ¶ 9. And there is no reason to assume, as the Government does, that members
     of the caravan will seek to enter between ports of entry. The practices of past caravans indicate that many who make it
28   to the U.S.-Mexico border will seek asylum at a port of entry. Id. ¶ 10.
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     policy, but that is insufficient to satisfy their high burden.
1
2            Like the other exceptions to notice and comment rulemaking, “Congress intended [this]

3    exception to have a narrow scope.” Indep. Guard Ass’n of Nevada, Local No. 1 v. O'Leary on

4    Behalf of U.S. Dep’t of Energy, 57 F.3d 766, 769 (9th Cir. 1995), opinion amended on denial of
5    reh’g, 69 F.3d 1038 (9th Cir. 1995) (addressing the “military function” prong of the same provision
6
     of the APA). Indeed, “the Report of the Senate Judiciary Committee emphasized that ‘the
7
     exceptions apply only to the extent that the excepted subjects are directly involved.’” Id. (quoting
8
     S.Doc. No. 248, 79th Cong., 2d Sess. 199 (1946)) (internal quotation marks omitted).
9
10           Accordingly, “for the exception to apply, the public rulemaking provisions should provoke

11   definitely undesirable international consequences.” Doe v. Trump, 288 F. Supp. 3d 1045, 1075

12   (W.D. Wash. 2017) (quoting Yassini v. Crosland, 618 F.2d 1356, 1360 n.4 (9th Cir. 1980) (alteration
13   omitted). There are no relevant undesirable circumstances here. The government states that it is in
14
     related negotiations with Mexico and Central American countries. Interim Final Rule at 69. But that
15
     does not mean notice and comment procedures will cause problems for foreign policy. On the
16
     contrary, no “undesirable international consequences . . . would result if rulemaking were
17
18   employed.” Jean v. Nelson, 711 F.2d 1455, 1477–78 (11th Cir. 1983), dismissed in relevant part as

19   moot, 727 F.2d 957 (11th Cir. 1984) (en banc), aff'd, 472 U.S. 846 (1985). In the absence of such
20   “definitely undesirable international consequences,” the exception is inapplicable. Doe, 288 F.
21
     Supp. 3d at 1075.
22
             In sum, because it was promulgated in violation of the notice and comment requirements of 5
23
     U.S.C. § 553(b) and (c), the rule should be stayed pending a final ruling on the merits.
24
25       B. The Attorney General Also Violated The APA’s Required 30-day Grace Period.

26           Even if notice and comment were not required, the rule would still violate 5 U.S.C. §

27   553(d)’s separate requirement that a rule be published “no less than 30 days before its effective date,
28   except . . . (3) as otherwise provided by the agency for good cause found and published with the
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     rule.” This requirement “protects those who are affected by agency action taken during the 30–day
1
2    waiting period without disturbing later action that is not the product of the violation.” Prows v.

3    Dep’t of Justice, 938 F.2d 274, 276 (D.C. Cir. 1991). For the same reasons stated above, the agency

4    cannot show good cause why the 30-day waiting period should not apply to the rule, or that the
5    foreign affairs exception applies. If the Court reaches this alternate ground for relief, the proper
6
     remedy is to stay the rule for the necessary 30 days. Ngou v. Schweiker, 535 F. Supp. 1214, 1216
7
     (D.D.C. 1982).
8
     II.     The Per Se Denial Of Asylum To All Noncitizens Who Enter Without Inspection
9
             Violates the INA and Is Contrary To Law.
10
             A. The Regulation Violates The INA.
11
             1. The regulation categorically denying asylum to all noncitizens who entered without
12
13   inspection at the southern border is flatly contrary to the INA, because Congress explicitly requires

14   that asylum be available to individuals who enter without inspection. The INA speaks with

15   unmistakable clarity to the precise question at issue in this case: whether individuals who enter
16   without inspection are nonetheless eligible for asylum. Section 1158(a)(1) provides that
17
             “[a]ny alien who is physically present in the United States or who arrives in the
18           United States (whether or not at a designated port of arrival and including an alien
             who is brought to the United States after having been interdicted in international or
19           United States waters), irrespective of such alien’s status, may apply for asylum in
             accordance with this section or, where applicable, section 1225(b) of this title.”
20
21   8 U.S.C. § 1158(a)(1) (emphasis added). This language is specific and precise. An individual who

22   has already entered without inspection is “physically present in the United States.” Id. Likewise, an

23   individual who is apprehended at the border but not at a port of entry—i.e. who is in the process of
24   entering without inspection—is “arriv[ing] in the United States . . . not at a designated port of
25
     arrival.” Id. Thus, barring a person from asylum solely because he or she entered without inspection
26
     is at odds with the statutory mandate and must be invalidated as contrary to law. See United States
27
     v. Larionoff, 431 U.S. 864, 873 (1977) (stating that “in order to be valid,” regulations “must be
28
                                          12
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     consistent with the statute under which they are promulgated”). 6
1
2             Congress’s decision not to ban asylum based on one’s manner of entry makes sense: the

3    manner of entry bears no relation to how much danger one faces. Congress’s decision is also

4    consistent with the international law obligations of the United States regarding refugees. See
5    Declaration of Professor Guy Goodwin-Gill (Nov. 9, 2018) (noting, as one of the world’s leading
6
     refugee and asylum authorities, that the U.S. government’s recent decision to enact a per se ban on
7
     asylum for individuals who enter between ports at the U.S.-Mexico border violates international law,
8
     including the 1951 United Nations Convention Relating to the Status of Refugees).7
9
10            The government attempts to wave away the significance of § 1158(a)(1) by asserting that the

11   new regulation only governs eligibility for asylum, whereas § 1158(a)(1) is concerned with the

12   ability to apply for asylum. See Interim Final Rule at 30. But accepting that argument would gut
13   Congress’s command in § 1158(a)(1) of any force. The ability to apply for asylum has to be a
14
     meaningful one, involving some chance of actually receiving asylum. A categorical bar on the
15
     6
       Not surprisingly in light of the language of the statute, the Board of Immigration Appeals (BIA) has also made clear
16   that the Attorney General cannot categorically deny asylum simply because an applicant entered between ports. Rather,
     the BIA has noted that individuals who enter between ports are eligible to apply for asylum and that the manner of entry
17   becomes relevant, if at all, only at the end of the process when deciding whether the applicant should be denied asylum
     as a matter of discretion. Notably, though, the BIA has made clear that even at the discretionary end of the process, the
18   manner of entry may not become a back-door means of routinely denying asylum, thereby undercutting Congress’s
     decision to ensure that the applicant’s manner of entry did not render him per se ineligible for asylum. In Matter of
19   Pula, 19 I&N Dec. 467 (BIA 1987), for instance, the BIA held that while “an alien’s manner of entry or attempted entry
     is a proper and relevant discretionary factor to consider in adjudication asylum applications, . . . it should not be
20   considered in such a way that the practical effect is to deny relief in virtually all cases.” Id. at 474 (emphasis added).
     And, the BIA added, a well-founded fear of persecution “should generally outweigh all but the most egregious of adverse
21   factors.” A categorical rule denying asylum in all cases of entry without inspection, then, runs counter to the
     longstanding rule that manner of entry cannot be dispositive in all cases.
22   7
       The United States has acceded to the international 1967 Protocol Relating to the Status of Refugees and is bound by it.
     Orantes-Hernandez, 919 F.2d at 551. By acceding to the Protocol, the United States agreed to comply with the 1951
23   Refugee Convention. Id. The Convention’s prohibition on penalties reflects a recognition of the reality of being a
     refugee – a person who is, by definition, fleeing persecution. See UN Ad Hoc Committee on Refugees and Stateless
24   Persons, Memorandum by the Secretary-General, UN Doc. E/AC.32/2, Ch. XI, Art. 24. Para. 2 (Jan. 3, 1950) (“A
     refugee whose departure from his country of origin is usually a flight, is rarely in a position to comply with the
25   requirements for legal entry . . . into the country of refuge.”). For this reason, the UNHCR’s Introductory Note to the
     Convention describes the prohibition on penalizing a refugee for her manner of entry as one of the Convention’s
26   “fundamental principles.” See Introductory Note (UNHCR) (2010) at 3, UN Convention Relating to the Status of
     Refugees. Prohibiting a person from applying for asylum merely because she entered at a place other than a port of entry
27   is a penalty inconsistent with Article 33(1).

28
                                           13
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     ability to obtain asylum merely because of a refugee’s manner of entry leaves no such chance, and
1
2    operates the same way as a ban on applying for asylum, thus rendering § 1158(a)(1) an empty

3    vessel.

4              2. The federal register notice accompanying the regulation argues that the Attorney General
5    could lawfully enact the regulation because the asylum statute allows him to “establish additional
6
     limitations and conditions, consistent with [§ 1158], under which an alien shall be ineligible for
7
     asylum.” 8 U.S.C. § 1158(b)(2)(C). The Attorney General’s power is phrased in terms of imposing
8
     additional conditions and limitations on a person’s eligibility for asylum because the statute already
9
10   sets out six exceptions to eligibility. Critically, the statute then makes clear that the Attorney

11   General does not have unfettered discretion to craft whatever additional limitations and conditions

12   he believes appropriate, but may only impose additional limitations and conditions that are
13   “consistent with this section.” 8 U.S.C. § 1158(b)(2)(C).
14
               A per se ban on asylum for all those who enter between ports at the U.S.-Mexico border is
15
     not consistent with the nature of the six limitations already contained in the statute:
16
                       (i) the alien ordered, incited, assisted, or otherwise participated in the
17             persecution of any person on account of race, religion, nationality, membership in a
               particular social group, or political opinion;
18
                       (ii) the alien, having been convicted by a final judgment of a particularly
19             serious crime, constitutes a danger to the community of the United States;
20                     (iii) there are serious reasons for believing that the alien has committed a
               serious nonpolitical crime outside the United States prior to the arrival of the alien in
21             the United States;
22                     (iv) there are reasonable grounds for regarding the alien as a danger to the
               security of the United States;
23
                       (v) the alien is described in subclause (I), (II), (III), (IV), or (VI) of section
24             1182(a)(3)(B)(i) of this title or section 1227(a)(4)(B) of this title (relating to terrorist
               activity), unless, in the case only of an alien described in subclause (IV) of section
25             1182(a)(3)(B)(i) of this title, the Attorney General determines, in the Attorney
               General's discretion, that there are not reasonable grounds for regarding the alien as a
26             danger to the security of the United States; or
27                    (vi) the alien was firmly resettled in another country prior to arriving in the
               United States.
28
                                            14
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             The clear upshot of these enumerated bars is that Congress sought to deny asylum
1
2    only to dangerous individuals and persecutors, as well as those who no longer needed a safe

3    haven. In light of § 1158(a)(1), Congress did not believe that the mere fact that an individual

4    entered between ports made her a danger or threat to the United States. Indeed, there are
5    numerous reasons why asylum applicants cross between ports. See Pinheiro Decl. ¶¶ 26-41
6
     (discussing such reasons, including lack of information, safety concerns, and practices by
7
     U.S. Border Patrol agents denying access to ports of entry).
8
             Under ordinary principles of statutory construction, the Attorney General’s residual
9
10   authority to promulgate additional conditions or limitations on asylum eligibility must be

11   construed narrowly. See Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 115 (2001)

12   (“residual clause” is limited by “the enumerated categories . . . which are recited just before
13   it”). By requiring that any new limitations be “consistent” with § 1158 as a whole, Congress
14
     authorized only limitations that fit within the overall statutory scheme, including the six
15
     enumerated grounds of ineligibility. See, e.g., Olmstead v. L.C. ex rel. Zimring, 527 U.S.
16
     581, 606 n.16 (1999) (plurality) (rejecting ADA standard that went beyond that articulated in
17
18   Rehab Act regulations because Congress had directed the ADA regulations be “consistent”

19   with the Rehab Act regulations).
20           In short, even if there were any doubt about whether the regulation is consistent with
21
     the type of exceptions set out in the statute, Congress eliminated that doubt by expressly
22
     stating that one is eligible for asylum “whether or not” they entered at a port of entry.
23
     Whatever additional exceptions to asylum eligibility the Attorney General may impose, he
24
25   certainly cannot make entry between ports a per se ground of ineligibility.8

26
     8
       Perhaps out of appreciation for the narrow scope of Congress’s grant in § 1158(b)(2)(C), no Attorney General has ever
27   promulgated a regulation pursuant to his or her § 1158(b)(2)(C) authority as sweeping as the one here, or with the power
     to so fully undermine the asylum statute. Indeed, the Interim Final Rule points to only one regulatory exercise of
28   § 1158(b)(2)(C). See Interim Final Rule at 19. This marked departure from past practice is a development that in itself
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             B. The President Likewise Lacks Authority To Deny Asylum To All Who Enter
1               Without Inspection.
2
             The President also lacks authority to categorically ban asylum for all those who enter
3
     between ports on the US.-Mexico border, for two reasons. First, the President’s 212(f) power
4
     applies only to suspending or restricting “entry.” It does not allow the President to impose
5
6    conditions on those who have already entered. Second, even if the President’s 212(f) power did

7    permit him to impose conditions on those who already entered, it does not permit him to contravene

8    Congress’s specific command that individuals who enter without inspection may apply for asylum.
9            1. Section 212(f) gives the President the power to “suspend the entry” of noncitizens and
10
     impose “restrictions” on their “entry.” 8 U.S.C. § 1182(f). It does not refer to immigration
11
     proceedings once an individual has entered the country, nor does it reference the complex,
12
     reticulated scheme Congress has put in place to govern what relief is available, and to whom, in such
13
14   post-entry proceedings. By a reading of its plain text, section 212(f) does not grant the President any

15   authority to dictate what forms of relief are available to a person who has already entered. Indeed, if

16   212(f) provided that power, the President could recreate the entire immigration system – including,
17   as here, by restructuring what forms of relief are available once an individual has already entered.
18
             2. Even if Section 212(f) did authorize regulation of events after entry (which it does not), it
19
     certainly cannot authorize the direct repudiation of a congressional command. The implications of
20
     allowing such a blatant repudiation of Congress are extreme. The President could literally rewrite
21
22   the immigration laws. He could decree, for example, that henceforth only certain of the five

23   protected asylum grounds will be acceptable bases for asylum. See 8 U.S.C. § 1101(a)(42)
24   (providing for asylum based on a well-founded fear of persecution on account of “race, religion,
25
26   signals the need for caution, especially where there has been no notice and comment or a 30-day grace period, as
     required by the APA. Cf. Util. Air Reg. Group v. EPA, 134 S. Ct. 2427, 2444 (2014) (When an agency claims to
27   discover “an unheralded power” lying dormant “in a long-extant statute,” courts “typically greet its announcement with a
     measure of skepticism.”).
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                                           16
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     nationality, membership in a particular social group, or political opinion”). Or he could unilaterally
1
2    heighten the standards for all forms of relief from removal, effectively writing the statutes Congress

3    enacted out of existence.

4            That cannot be. As Justice Jackson explained nearly 70 years ago: “When the President takes
5    measures incompatible with the expressed or implied will of Congress, his power is at its lowest ebb,
6
     for then he can rely only upon his own constitutional powers minus any constitutional powers of
7
     Congress over the matter.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)
8
     (Jackson, J., concurring). “Presidential claim to a power at once so conclusive and preclusive must
9
10   be scrutinized with caution, for what is at stake is the equilibrium established by our constitutional

11   system.” Id. at 638.

12           The government has cited the Supreme Court’s travel ban decision in Hawaii for support in
13   enacting the asylum § 212(f) Proclamation. But the Court’s Hawaii decision actually undermines
14
     the Proclamation here. In Hawaii, the Court found that the plaintiffs in that case could not “point to
15
     any contradiction with another provision of the INA.” 138 S. Ct. at 2412. It was careful to
16
     acknowledge that in another case, where a plaintiff could identify a direct conflict between the
17
18   President’s proclamation and a statute, Congress’s lawmaking authority would prevail. See id. at

19   2412 (“[T]his is not a situation where ‘Congress has stepped into the space and solved the exact
20   problem.’”); id. at 2411 (“We may assume that § 1182(f) does not allow the President to expressly
21
     override particular provisions of the INA.”). This case represents just the situation Hawaii
22
     hypothesized, where the President is seeking to eviscerate a statute directly on point. Where, as
23
     here, Congress has spoken directly to the issue in a statute, the President has no authority to
24
25   disregard that statute.

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             THE REMAINING FACTORS TIP DECIDELY IN FAVOR OF GRANTING A TRO
1                         AND PRSERVING THE STATUS QUO
2            Plaintiffs are experiencing irreparable harm because they are being “depriv[ed] of a
3    procedural protection to which [they are] entitled” under the APA. Sugar Cane Growers
4
     Cooperative of Fla. v. Veneman, 289 F.3d 89, 94–95 (D.C. Cir. 2002). If relief were unavailable
5
     under such circumstances, “section 553 would be a dead letter.” Id. at 95. And unless the new rule
6
     is stayed, Plaintiffs’ injuries cannot be cured by ultimate success on the merits in this case. See Wis.
7
8    Gas Co. v. Fed. Energy Regulatory Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985). Section 553 “is

9    designed to ensure that affected parties have an opportunity to participate in and influence agency
10   decision making at an early stage, when the agency is more likely to give real consideration to
11
     alternative ideas.” New Jersey v. EPA, 626 F.2d 1038, 1049 (D.C. Cir.1980) (citation and internal
12
     quotation marks omitted). “[P]ermitting the submission of views after the effective date of a
13
     regulation is no substitute for the right of interested persons to make their views known to the
14
15   agency in time to influence the rulemaking process in a meaningful way.” Block, 655 F.2d at 1158.

16   Indeed, if the rule is allowed to go into effect for any real period, the agencies are “far less likely to

17   be receptive to comments.” N. Mariana Islands v. U.S., 686 F. Supp. 2d 7, 18 (D.D.C. 2009).
18   “Every day the [rules] stand is another day Defendants may enforce regulations likely promulgated
19
     in violation of the APA’s notice and comment provision, without Plaintiffs’ advance input.”
20
     California v. Health & Human Servs., 281 F. Supp. 3d 806, 829–30 (N.D. Cal. 2017).
21
             Had Defendants provided an opportunity for notice and comment before putting the rule into
22
23   effect, Plaintiffs would have had the opportunity to inform Defendants of their serious concerns. See

24   Complaint ¶ 100; Pinheiro Decl. ¶ 14; Declaration of Michael Smith, Refugee Rights Program

25   Director, East Bay Sanctuary Covenant (Nov. 9, 2018), at ¶ 20; Declaration of Daniel Sharp, Legal
26   Director, Central American Resource Center, Los Angeles (Nov. 9, 2014), at ¶ 14.
27
             Moreover, the new policy makes far-reaching changes that will harm Plaintiffs. Plaintiffs are
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                                          18
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     threatened with the immediate prospect of dramatically diverting their resources to account for the
1
2    blanket ineligibility for asylum of so much of their clientele. See Complaint ¶¶ 83-86, 88-89, 91, 93-

3    95, 98-99; Pinheiro Decl. ¶¶ 9-10, 12-13; Smith Decl. ¶¶ 14-15, 17-19; Sharp Decl. ¶¶ 10-11, 13;

4    Manning Decl. ¶¶ 8-12. For example, Plaintiff Innovation Law Lab has created a nationwide system
5    of training and mentoring pro bono counsel in asylum proceedings. Manning Decl. ¶ 11. The new
6
     policy precluding certain individuals from applying for asylum would force Innovation Lab to
7
     reallocate considerable resources to understanding the new regulatory landscape, and to handling
8
     complicated appeals before the Board of Immigration Appeals and the circuit courts. Id. ¶ 12. See
9
10   also Sharp Decl. ¶ 13 (similar); Nat’l Council of La Raza v. Cegavske, 800 F.3d 1032, 1040 (9th Cir.

11   2015) (holding plaintiff demonstrated injury where organization would not have diverted resources

12   to voter registration drives but for state’s actions); SurvJustice Inc. v. DeVos, No. 18-CV-00535-JSC,
13   2018 WL 4770741, at *8 (N.D. Cal. Oct. 1, 2018) (finding plaintiff suffered injury where
14
     “challenged policy required it to divert resources it ‘otherwise would spend in other ways’”) (citing
15
     El Rescate Legal Servs., Inc. v. Exec. Office of Immigration Review, 959 F.2d 742, 748 (9th Cir.
16
     1991)).
17
18             In addition, several of the Plaintiff organizations face an extraordinary loss of funding tied to

19   asylum applications, threatening their very existence. See Complaint ¶¶ 80-82, 87, 90, 97; Pinheiro
20   Decl. ¶ 11; Smith Decl. ¶¶ 16; Sharp Decl. ¶¶ 7, 12; Manning Decl. ¶ 11. For instance, Plaintiff East
21
     Bay Sanctuary Covenant (“ESBC”) mainly serves clients who entered without inspection in filing
22
     affirmative asylum applications. Smith Decl. ¶ 9. The organization receives funding from the State
23
     of California to partially defray costs for many of the applications it files. Id. ¶ 16. In 2017 alone,
24
25   the organization received approximately $304,000 for filing 152 affirmative asylum applications for

26   individuals who entered without inspection. Id. The new policy would imminent harm Plaintiff

27   ESBC by jeopardizing a significant portion of its budget. See also Sharp Decl. ¶ 12 (explaining how
28   the new policy would financially strain Plaintiff CARECEN by forcing attorneys to devote more
                                                       19
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     hours per case to pursue complex non-asylum relief, while receiving a flat per-case reimbursement
1
2    rate from the State of California); Pinheira Decl. ¶¶ 11-12 (explaining how Plaintiff Al Otro Lado

3    would have to prepare additional applications for family members, incurring greater financial costs).

4           In contrast, the government cannot point to any real harm that would result from the
5    requested TRO. With regard to the procedural violations, the government can begin a new
6
     rulemaking process, this time following the mandatory procedures. As explained above, the current
7
     rule is not made in response to an emergency, and a delay will not harm the public interest.
8
            Moreover, in cases against the government, the government’s interest and public interest
9
10   factors “merge.” Nken v. Holder, 556 U.S. 418, 435 (2009). As explained above, there is no urgent

11   need to have the new asylum ban in effect immediately. But if the ban is in effect, hundreds or

12   thousands of vulnerable asylum seekers will be summarily denied asylum and could therefore be
13   deported pursuant to a rule that violates the clear terms of the statue Congress enacted. “Of course
14
     there is a public interest in preventing aliens from being wrongfully removed, particularly to
15
     countries where they are likely to face substantial harm.” Id. at 436.
16
            Finally, the public interest is served when administrative agencies comply with their
17
18   obligations under the APA. See New Jersey, 626 F.2d at 1045 (“It is now a commonplace that

19   notice-and-comment rule-making is a primary method of assuring that an agency’s decisions will be
20   informed and responsive.”); Cresote Council v. Johnson, 555 F.Supp.2d 36, 40 (D.D.C. 2008)
21
     (explaining that there is a “general public interest in open and accountable agency decision-
22
     making”). Thus, “the balance of hardships tips sharply in [Plaintiffs’] favor.” All. for the Wild
23
     Rockies, 632 F.3d at 1131.
24
25
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                                               CONCLUSION
1
2           For the foregoing reasons, Plaintiffs’ motion for a TRO should be granted.

3    Dated: November 9, 2018                           Respectfully submitted,

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